        Case 1:07-cr-00156-LJO Document 330 Filed 02/22/10 Page 1 of 1


 1   ROGER K. LITMAN, 57634
     Attorney at Law
 2   Civic Center Square
     2300 Tulare Street, Suite 230
 3   Fresno, California 93721
     Telephone: (559) 237-6000
 4
     Attorney for Defendant, VICTOR MURRAY
 5
 6
                      IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                              EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,   )              CASE NO. 1:07-CR-00156 LJO
10                               )
          Plaintiff,             )
11                               )
         v.                      )              ORDER on REQUEST TO
12                               )              SEAL RECORDS
     VICTOR MURRAY,              )
13                               )
          Defendant.             )
14   ____________________________)
15            The request to seal Victory Murray’s Sentencing Memorandum
16   has been received. Good Cause has not been stated.
17
18   IT IS SO ORDERED.
19   Dated:     February 19, 2010           /s/ Lawrence J. O'Neill
     b9ed48                             UNITED STATES DISTRICT JUDGE
20
21
22
23
24
25
26
27
28

                                            1
